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13
                                UNITED STATES DISTRICT COURT
14
                                         DISTRICT OF NEVADA
15

16    TODD VANDEHEY, an individual,                   CASE NO: 2:17-cv-02230-JAD-NJK

17                         Plaintiff,
                                                             AMENDED COMPLAINT
18    v.

19    REAL SOCIAL DYNAMICS, INC., a Nevada
      corporation; NICHOLAS KHO, an individual;
20    OWEN COOK, an individual; John Does 1
      through 10, all whose true names are unknown;
21    ABC Companies 1 through 10, all whose true
      names are unknown.
22
                           Defendants.
23

24           Plaintiff Todd VanDeHey (“Plaintiff”), by and through counsel, complaining of

25    defendants Real Social Dynamics, Inc. (“RSD”), Nicholas Kho, Owen Cook (collectively, RSD,

26    Kho and Cook are hereinafter referred to as the “Defendants”), John Does 1 through 10 and

27    ABC Companies 1 through 10 (collectively, John Does 1 through 10 and ABC Companies 1

28
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 1    through 10 are hereinafter referred to as the “Unknown Defendants”) hereby states and alleges

 2    as follows:

 3                                           JURISDICTION

 4           1.     This Court has jurisdiction of this action under 28 U.S.C. §1332. There is a

 5    complete diversity of citizenship between the Plaintiff and the Defendants, and the amount in

 6    controversy is more than $75,000.00.

 7                                                VENUE

 8           2.     Venue is proper based upon the parties’ stipulation pursuant to the “Governing

 9    Law” section of the independent contractor agreement (“Contractor Agreement”) dated October

10    1, 2004 that was executed on July 27, 2004 between Plaintiff and RSD.

11           3.     Venue is also proper based upon the parties’ stipulation pursuant to Section 11.9

12    of an operating agreement dated October 5, 2015 (“Operating Agreement”) between Plaintiff

13    and RSD.

14                                               PARTIES

15           4.     Todd VanDeHey is a citizen of the State of New York with an address of 10

16    Hanover Square, Apartment 18N, New York, New York 10005.

17           5.     Upon information and belief, Real Social Dynamics, Inc. is a Nevada corporation

18    with an address of 1930 Village Center Circle, #3-965, Las Vegas, Nevada 89134.

19           6.     Plaintiff and defendant RSD are each fifty percent (50%) shareholders of

20    Valentine Life, Inc., a Nevada corporation (“Valentine Life”).

21           7.     Upon information and belief, defendant Nicholas Kho is a citizen of the State of

22    Nevada with an address of 8121 Gothic Avenue, Las Vegas, Nevada 89117 and co-owner of

23    defendant RSD.

24           8.     Upon information and belief, defendant Owen Cook, is a citizen of Canada

25    residing in the State of California with an address of 1865 Fuller Avenue, Los Angeles,

26    California 90046 and co-owner and/or principal of Defendant RSD.

27           9.     Upon information and belief, defendants John Does 1 through 10 are individuals

28    whose names and addresses of residence are unknown, and either directly or indirectly


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 1    wrongfully accessed, or facilitated the wrongful access of, Plaintiff’s personal Gmail account

 2    and/or other private digital accounts without permission.

 3           10.     Upon information and belief, defendants ABC Companies 1 through 10 are legal

 4    entities, the names and addresses of which are unknown, and either directly or indirectly

 5    wrongfully accessed, or facilitated the wrongful access of, Plaintiff’s personal Gmail account

 6    and/or other private digital accounts without permission.

 7                                     GENERAL ALLEGATIONS

 8           The Contractor Agreement

 9           11.     On or about July 27, 2004, Plaintiff and RSD executed the Contractor

10    Agreement, whereby RSD employed Plaintiff as an “Executive Coach to be an Instructor for

11    Real Social Dynamics Live Programs and complete Administrative Work”. A true and accurate

12    copy of the Contractor Agreement is attached hereto as Exhibit A.

13           12.     The Contractor Agreement contains a Non-Competition clause that states:

14                   Other than through Contract with a bona-fide independent party, or with the
                     express written consent of the Principal, which will not be unreasonably
15                   withheld, the Contractor will not, during the continuance of the Agreement or
                     within five (5) years after the termination or expiration, as the case may be, of
16
                     this Agreement, be directly or indirectly involved with a business which is in
17                   direct competition with the Principal in the business line of how to be successful
                     with women and dating.
18
                     For a period of five (5) years from the date of termination or expiration, as the
19                   case may be, of the Contractor’s Contract with the Principal, the Contractor will
                     not divert or attempt to diver from the Principal any business the Principal had
20
                     enjoyed, solicited, or attempted to solicit, from its customers, prior to termination
21                   or expiration, as the case may be, of the Contractor’s Contract with the Principal.

22                   The Contractor will not own, operate or work for a company or internet website
                     that teaches men how to be successful with women and dating, for five (5) years
23                   from the date of termination or expiration, in Los Angeles, New York, San
                     Francisco, Sydney, Melbourne, Toronto, Montreal, and London, and the
24
                     Contractor will forfeit to Real Social Dynamics any revenue and income earned
25                   from operating or working for a company or internet website that teaches men
                     how to be successful with women and dating during the 5 year period, and the
26                   Contractor is still obligated to keep all trade secrets confidential.
27    See Exhibit A.
28


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 1           13.     The Contractor Agreement also contains a Non-Solicitation clause that states:

 2                   Any attempt on the part of the Contractor [Plaintiff] to induce others to leave the
                     Principal’s [RSD’s] employ, or any effort by the Contractor to interfere with the
 3                   Principal’s relationship with its other Contractors and contractors would be
                     harmful and damaging to the Principal. The Contractor agrees that during the
 4
                     term of his Contract with the Principal and for a period of five (5) years after the
 5                   end of the terms, the Contractor will not in any way, directly or indirectly:

 6                   a. Induce or attempt to induce any Contractor or contractor of the Principal to
                        quit Contract or retained with the Principal;
 7
                     b. Otherwise interfere with or disrupt the Principal’s relationship with its
 8
                        Contractors and Employees;
 9
                     c. Discuss Contract opportunities or provide information about competitive
10                      Contract to any of the Principal’s Contractors or Employees; or
11                   d. Solicit, entice, or hire away any Contractor or contractor of the Principal.
12
                     This obligation will be limited to those that were Contractors or contractors of the
13                   Principal when the Contractor was contracted by the Principal.

14    See Exhibit A.
15           14.     Thereafter, the parties decided to create Valentine Life, whereby Plaintiff would
16    run the day-to-day operations of Valentine Life and defendant RSD would provide “back-office”
17    support for Valentine Life.
18           Valentine Life
19           15.     Plaintiff is the incorporator, sole director and a fifty-percent (50%) shareholder of
20    Valentine Life. A true and accurate copy of Valentine Life’s Articles of Incorporation are
21    attached hereto as Exhibit B.
22           16.     Valentine Life is jointly owned by Plaintiff and defendant RSD.
23           17.     Valentine Life provides online and in-person classes and other instructional
24    material to men on how to attract and date women.
25           18.     Plaintiff is the public face and main instructor of Valentine Life under the aliases
26    “Todd Valentine” and “RSDTodd”.
27           19.     Valentine Life primarily operates, advertises and provides services through
28    various internet websites and social media accounts.

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 1           20.     The websites operated by Valentine Life include without limitation:

 2    3GirlsADay.com; WomenbyTodd.com; TextAndDatesmachine.com; DayGameByTodd.com;

 3    ValentineUniversity.com; ValentineLife.com; AttractionUnlocked.com; RSDImmersion.com

 4    and OpeningMastery.com (collectively, the “Websites”).

 5           21.     The social media accounts operated by Valentine Life include without limitation:

 6    youtube.com/user/RSDTodd; youtube.com/user/toddfreetour; youtube.com/1minuteattraction;

 7    plus.google.com/u/0/10544201590615030298;            plus.google.com/110840022199142432968;

 8    twitter.com/rsdtodd;    instagram.com/toddvalentineofficial/;     facebook.com/rsdtodd;       and

 9    facebook.com/toddrsd (collectively, the “Social Media Accounts”).

10           22.     Valentine Life also communicates with its customers via the online email

11    marketing automation and reporting platform provided through third-party vendor Ontraport,

12    which contains Valentine Life’s customer list.

13           23.     In addition, Valentine Life processes and receives payments through the online

14    merchant services systems provided by the third-party vendor InChek.

15           24.     As part of the ongoing business of Valentine Life, RSD contributed certain

16    infrastructure and resources to the entity while Plaintiff was responsible for running the day-to-

17    day business of the company.

18           25.     For example, Valentine Life and its employees/contractors conducted business

19    utilizing RSD email domains and the individual accounts thereunder, Valentine Life email

20    domains and the individual accounts thereunder, Valentine Life ZenDesk and Clickbank

21    accounts to facilitate customer service (collectively, Ontraport, InChek, the RSD email domains

22    and the individual accounts thereunder, the Valentine Life email domains and the individual

23    accounts thereunder, ZenDesk, Clickbank, and all underlying databases, customer lists, contact

24    information and other data are hereinafter referred to as the “Business Accounts”).

25           Valentine Life Operating Agreement

26           26.     Valentine Life is governed by an Operating Agreement. A true and accurate copy

27    of the Operating Agreement is attached hereto as Exhibit C.

28           27.     The Operating Agreement provides in relevant part:


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 1               Section 5.1 Cash Flow. Cash Flow, if any, shall be distributed at such dates as
                 determined by unanimous written consent of the Shareholders to the Shareholders
 2               in proportion to their respective Percentage Interest. RSD and VanDeHey shall be
                 sole signatories on the Company Bank Account.
 3
                                                          ***
 4
                 Section 6.1 Manager. The company shall be managed by RSD and VanDeHey.
 5               Meetings of the Manager shall be required annually.
 6
                 Section 6.2 Manager of Operational and Day-to-Day Business and Affairs. The
 7               operational and day-to-day business and affairs of the Company shall be operated
                 and managed jointly by RSD and Todd VanDeHey. RSD and VanDeHey are
 8               authorized to take any actions, to make any determinations and to provide any
                 consents permitted to be taken, made or provided by the Company under this
 9               Agreement; provided, however, that RSD and VanDeHey shall not take any
                 action, make any determination or provide any consent expressly reserved by
10               Section 6.4 of this Agreement to the Shareholders. No Shareholder, other than
                 RSD or VanDeHey (subject to the terms of this Agreement), shall, acting
11               individually, have the power to sign or bind the Company unless duly authorized
                 to do so by unanimous written consent of the Shareholders. Notwithstanding the
12               foregoing, RSD and VanDeHey shall have no liability to the Shareholders or the
                 Company for exceeding the authority granted to him in the event a decision made
13               or an action taken by him was made or taken with a reasonable good faith belief
                 that such decision or action was (i) within the scope of the operational and day-
14               to-day business and affairs of the Company and (ii) not prohibited by the terms of
                 this Agreement.
15
                                                          ***
16
                 Section 6.4 Actions Expressly Reserved to the Shareholders. Notwithstanding the
17               authority granted to RSD in Section 6.2 above, RSD may not do or permit to be
                 done any of the following without the unanimous written consent of the
18               Shareholders:
19               (a) Any act or thing which the Act or this Agreement requires to be approved,
                     consented to or authorized by all the Shareholders;
20
                 (b) Voluntarily cause the dissolution of the Company;
21
                 (c) Sell all or a significant part of the Company assets, or engage in any material
22                   recapitalization or merger;
23               (d) Incur any liabilities in excess of $50,000; or
24               (e) File any lawsuit or proceedings.
25                                                        ***
26               Article 10 WAIVERS: Notwithstanding any provision of the Act, each
                 Shareholder hereby waives any right to seek or assert: (a) judicial dissolution of
27               the Company; (b) dissenters’ rights; or (c) derivative actions on behalf of the
                 Company.
28                                                    ***

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 1                  Section 11.9 Mediation/Arbitration – Dispute Resolution. Any controversy or
                    claim arising out of or relating to this Agreement or breach thereof shall first be
 2                  submitted to mediation with a retired judge. If either party fails engage [sic] in
                    mediation, that party shall lose his right to collect attorneys fees and costs as the
 3                  prevailing party in any subsequent mediation. In the event that the mediation does
                    not resolve the dispute, the Shareholders are to submit the dispute to binding,
 4                  non-appealable arbitration administered by the Judicial Arbitration Mediation
                    Services (JAMS) at one of its offices in Clark County. [T]he parties hereby
 5                  consent to the jurisdiction of the Superior Court for Clark County, Nevada, and of
                    the United States District Court for the Central District of Nevada, for injunctive
 6                  relief, specific performance or other relief in aid of any proceedings hereunder,
                    but not otherwise.…
 7
      See Exhibit C.
 8
             Plaintiff and Defendants’ Course of Dealing in the Operation of Valentine Life.
 9
             28.    While Valentine Life was incorporated in Nevada, its principal place of business
10
      is located in New York.
11
             29.    Valentine Life has a total of seven employees/contractors, the majority of whom
12
      primarily work in New York.
13
             30.    In addition, Valentine Life has a New York office space.
14
             31.    It was the parties’ agreement and course of dealing for Plaintiff to run the day-to-
15
      day operations of Valentine Life from New York, as the only shareholder living in New York.
16
             32.    The other shareholder of Valentine Life, defendant RSD, has a principal place of
17
      business located in Nevada.
18
             33.    The parties agreed that part of Plaintiff’s obligations in the day-to-day operation
19
      of Valentine life would be to, without limitation, supervise payroll; approve expenses; handle
20
      funds and bank accounts; oversee the creation of content for the company; oversee the
21
      answering of email inquiries related to the company’s products and services; and present
22
      workshops, seminars and classes.
23
             34.    In essence, Plaintiff ran the company.
24
             35.    This included creating content for the Social Media Accounts that would drive
25
      consumers to the Websites to purchase products and services.
26
             36.    Customers’ online purchases of products and services from the Websites are a
27
      major source of revenue for Valentine Life.
28


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 1           37.      Without content being generated on the Social Media Accounts to drive

 2    customers to the Websites, Valentine Life’s ability to generate revenue would be hindered.

 3           38.      Moreover, without the Websites, Valentine Life would be unable to sell its

 4    products and services.

 5           39.      Simply put, without Plaintiff running the day-to-day operations of Valentine Life

 6    the company would not be profitable and would be greatly and irreparably devalued.

 7           40.      In addition, through the parties’ course of dealing, Plaintiff had sole signatory

 8    authority of Valentine Life’s bank accounts and managed the day-to-day operation of the

 9    company.

10           41.      Upon the parties’ agreement and course of dealing, Defendants solely had view-

11    only access to Valentine Life’s bank account.

12           42.      Defendants were not added as a signatory on Valentine Life’s bank account.

13           43.      As of August 10, 2017, Defendants did not have authority to withdraw funds

14    from Valentine Life’s bank account.

15           44.      Defendants did not otherwise have authority to make changes to Valentine Life’s

16    bank account.

17           45.      Likewise, Defendants allowed Plaintiff to manage and operate the day-to-day

18    business of Valentine Life.

19           46.      Indeed, Defendant RSD received its proportion of any profit distributions.

20           Defendants have Undertaken Activities That are Inimical to the Continued
             Existence of Valentine Life.
21
             47.      Defendant RSD employs/engages a number of professionals who, utilizing
22
      RSD’s and their own websites and social media accounts, provide services similar to Valentine
23
      Life (classes, workshops, seminars, products and services teaching men who want to learn
24
      techniques for successfully navigating the dating world).
25
             48.      Indeed, defendant Kho and defendant Cook both individually work as RSD
26
      coaches in competition with Plaintiff.
27

28


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 1           49.     As part of Defendants’ business, defendant Kho uses the alias “Papa” and

 2    defendant Cook uses the alias “Tyler”.

 3           50.     Defendants’ products and services are separate from Valentine Life.

 4           51.     Prior to August 10, 2017, Plaintiff and Valentine Life worked in conjunction with

 5    Defendants to provide a complementary selection of products and services geared toward the

 6    same market.

 7           52.     Thus, defendant RSD is not only a partial owner of Valentine Life but also a

 8    competitor of Valentine Life.

 9           53.     Defendants abused defendant RSD’s role as a shareholder to access Valentine

10    Life’s assets in order to eliminate Plaintiff and Valentine Life as competitors.

11           54.     Defendants’ actions demonstrate an intent to wrongfully undermine the viability

12    of their competitor Valentine Life.

13           55.     Moreover, Defendants’ actions are in degradation of public policy which

14    promotes a free market and fair play among competitors on an even playing field.

15           Defendants Engaged in Unauthorized and Ultra Vires Act That Disrupted Valentine
             Life’s Ability to Operate.
16
             56.     On or about August 11, 2017, Defendants unilaterally and without authorization
17
      began to restrict Plaintiff’s access to the Websites, Social Media Accounts, Business Accounts
18
      and Valentine Life’s finances.
19
             57.     As will be detailed below, between on or about August 11, 2017 and on or about
20
      August 16, 2017, Defendants engaged in the systematic disruption and destruction of Valentine
21
      Life’s business by, inter alia, restricting Plaintiff’s access to the Websites and Social Media
22
      Accounts; removing content and products from the Websites and Social Media Accounts; and
23
      preventing the use of the Business Accounts by Plaintiff and Valentine Life.
24
             58.     In doing so, Defendants altered the Websites, Social Media Accounts, Business
25
      Accounts and financial accounts to the detriment of Valentine Life.
26
             59.     This has materially impaired Valentine Life’s operations.
27

28


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 1           60.     In addition, this was in contravention of the parties’ agreement and course of

 2    dealing that Plaintiff would exclusively undertake the day-to-day operation of Valentine life

 3    including, without limitation, supervising payroll; approving expenses; handling funds and bank

 4    accounts; overseeing the creation of content for the company; overseeing the response to

 5    customer inquiries related to the company’s products and services; and presenting workshops,

 6    seminars and classes.

 7           Defendants Restricted Plaintiff’s Access to the Websites and Proceeded to Take the
             Websites Down.
 8
             61.     On or about August 11, 2017, Defendants restricted and removed Plaintiff’s
 9
      access to a number of the Websites.
10
             62.     Thereafter, Defendants began taking down the Websites.
11
             63.     This prevented Valentine Life from selling or promoting its products on the
12
      Websites or accepting sales transactions.
13
             64.     The Websites that Defendants took down include, without limitation:
14
                              a.    Openingmastery.com. A true and accurate copy of a screenshot
15
                     showing OpeningMastery.com offline is attached hereto as Exhibit D.
16
                              b.    RSDImmersion.com. A true and accurate copy of a screenshot
17
                     showing RSDImmersion.com offline is attached hereto as Exhibit E.
18
                              c.    ValentineLife.com. A true and accurate copy of a screenshot
19
                     showing ValentineLife.com offline is attached hereto as Exhibit F.
20
             65.     ValentineLife.com was temporarily reactivated; however, it was improperly
21
      restored to a version of the website from April 2016 and did not include the significant updates
22
      that had been made to the website since that time.
23
             66.     Then, Defendants caused ValentineLife.com to be taken down a second time.
24

25           67.     Defendants’ unilateral and unauthorized actions have prevented Plaintiff from

26    providing scheduled updates to the Websites in furtherance of Valentine Life’s business.

27

28


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 1             68.    This is likely to result in the permanent loss of some potential and current

 2    customers, and is causing, and will continue to cause, irreparable harm to the goodwill of

 3    Valentine Life and Plaintiff.

 4             69.    Defendants’ actions have impaired Plaintiff’s ability to have Valentine Life

 5    provide: (a) scheduled classes that customers have already purchased; and (b) customer service

 6    solutions to customers.

 7             70.    For example, Defendants unilaterally announced the cancellation of the Valentine

 8    Life program “Immersion” which was imminently scheduled to take place in Amsterdam and

 9    New York City.

10             71.    Plaintiff was at all times ready, willing and able to proceed with the “Immersion”

11    program and only learned that it was being cancelled by reading an online forum that referenced

12    the fact that Defendants had done so. To say the least, the Defendants had no authority to cancel

13    “Immersion”, and by doing so, they further degraded the value of Valentine Life’s goodwill and

14    brand.

15             72.    This is yet another example of innocent third-parties being harmed by

16    Defendants’ actions.

17             73.    Indeed, a Valentine Life customer posted under the user name “noellohrey” on

18    defendant Cook’s Instagram Page (RSDTyler). The user apparently had purchased the Valentine

19    Life Immersion program and inquired whether it would take place because customer service had

20    not answered his inquiries for three days. A true and accurate copy of the Instagram posting is

21    attached hereto as Exhibit G.

22             74.    Under the management of Plaintiff, it was Valentine Life’s practice to respond to

23    customer service requests within twenty-four hours.

24             75.    Defendants improperly took over the accounts and are not adequately servicing

25    the business.

26             76.    Defendants’ actions are tarnishing and damaging the brand, reputation and

27    goodwill of Plaintiff and Valentine Life.

28


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 1           77.     In addition, Defendants’ actions have fostered uncertainty among consumers as to

 2    the continued availability of Valentine Life’s business.

 3           78.     Without limitation, consumers are questioning whether they will be able to

 4    continue to access the Valentine Life content for which they previously paid. See Exhibit G.

 5           79.     This has led consumers to illegally pirate Valentine Life’s content, further

 6    devaluing and causing damage to Valentine Life’s business and assets.

 7           80.     This action is evidenced by Internet postings on Reddit and in the private

 8    “Women by Todd” Facebook group.

 9                           a.     For example, one Reddit user started a thread titled “Heads up,

10                   Real Social Dynamics has kicked out RSD Todd [Plantiff]. If you own any RSD

11                   Todd product logins, DOWNLOAD all the content as those sites may go down.”

12                   A true and accurate copy of the Reddit thread is attached hereto as Exhibit H.

13                           b.     In addition, users in the private “Women by Todd” Facebook

14                   group have discussed and exchanged methods of downloading Valentine Life’s

15                   content without authorization. A true and accurate copy of relevant postings from

16                   the private “Women by Todd” Facebook group is attached hereto as Exhibit I.

17           81.     The demand for Valentine Life’s goods and services will be substantially and

18    irreparably harmed if the market becomes saturated with unauthorized copies of Valentine Life’s

19    products.

20           Defendants Restricted Plaintiff’s Access to the Social Media Accounts.

21           82.     On or about August 11, 2017, Defendants restricted and removed Plaintiff’s

22    access to a number of the Social Media Accounts.

23           83.     Thereafter, Defendants unilaterally and without authorization removed the

24    content from a number of the Social Media Accounts.

25           84.     This precluded the primary means of promotion or advertisement of Valentine

26    Life’s business, services and products.

27           85.     The Social Media Accounts that Defendants took down include, without

28    limitation:


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 1                            a.     YouTube.com/1minuteattraction. A true and accurate copy of a

 2                     screenshot of YouTube.com/1minuteattraction is attached hereto as Exhibit J.

 3                            b.     YouTube.com/RSDTodd. A true and accurate copy of a

 4                     screenshot of YouTube.com/RSDTodd is attached hereto as Exhibit K.

 5                            c.     YouTube.com/toddfreetour. A true and accurate copy of a

 6                     screenshot of YouTube.com/toddfreetour is attached hereto as Exhibit L.

 7                            d.     Todd Valentine Google+ Account. A true and accurate copy of a

 8                     screenshot of the Todd Valentine Google+ Account is attached hereto as Exhibit

 9                     M.

10                            e.     Todd Valentine (RSD Todd) Google+ Account. A true and

11                     accurate copy of a screenshot of the Todd Valentine (RSD Todd) Google+

12                     Account is attached hereto as Exhibit N.

13               86.   YouTube is the main Social Media Account Valentine Life uses to advertise and

14    promote its products and services.

15               87.   The Google+ pages are linked to YouTube and are a means of distributing the

16    Valentine Life content through social media.

17               88.   Defendants’ actions prevented Plaintiff from providing scheduled updates to the

18    Social Media Accounts in furtherance of Valentine Life’s business.

19               89.   Without regular updates to Valentine Life’s Social Media Accounts, Valentine

20    Life’s Internet metrics will be lowered; therefore, devaluing Valentine Life’s primary asset.

21               90.   In essence, when Valentine Life generates content on its Social Media Accounts

22    or Websites, search engine algorithms categorize the Social Media Account or Website as

23    active.

24               91.   The search engine algorithms assume the more updated an Internet Page is, the

25    more valuable the information the contents of that page likely is.

26               92.   Websites that are updated more often generally appear at the top of search engine

27    results.

28


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 1           93.       If the Social Media Accounts and Websites are down, then the search engine

 2    algorithms de-list them.

 3           94.       This will lead to the Social Media Accounts and Websites not having sufficient

 4    hierarchy in search engine results.

 5           95.       If the Social Media Accounts and Websites do not populate in search engine

 6    results, then Valentine Life’s ability to attract new viewers diminishes.

 7           96.       A decrease in the number of viewers Valentine Life’s Social Media Accounts

 8    receive means fewer potential new customers are directed to the Websites where they may

 9    purchase Valentine Life’s products and services.

10           97.       Without generating new customers, Valentine Life’s ability to generate revenue

11    and continue to operate as a business is severely hampered.

12           Defendants Restricted Plaintiff’s Access to the Business Accounts.

13           98.       Defendants unilaterally and without authorization removed Plaintiff’s access to

14    the Business Accounts.

15           99.       Without access to the Business Accounts, Valentine Life is unable to (a) process

16    payments for products or move revenue from the purchase of products into its bank accounts; (b)

17    contact customers about upcoming classes and seminars; (c) promote new content and products;

18    (d) respond to customers’ inquiries about products and services already purchased; and (e)

19    process refunds to customers in the guaranteed refund period.

20           100.      Defendants have hindered Valentine Life’s ability to collect revenue, market any

21    new content, provide customer service and deliver on products and services for which customers

22    previously paid and had contracted.

23           101.      In essence, Defendants’ actions have impaired Valentine Life from operating;

24    hence, harming not only the company but also Plaintiff who is a fifty-percent (50%) shareholder.

25           102.      As will be detailed below, Defendants’ have effectively dissolved Valentine Life

26    as a business.

27           103.      Indeed, defendant Kho has admitted to this fact on RSD Internet Forum postings,

28    stating, “Todd’s business with Real Social Dynamics was dissolved due to a difference in vision


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 1    with how Todd wanted to do business with Real Social Dynamics”. A true and accurate copy of

 2    the Internet positing is attached hereto as Exhibit O (emphasis added).

 3               104.   Pursuant to the Operating Agreement, Defendants were specifically prohibited

 4    from unilaterally dissolving Valentine Life. See Exhibit C (Operating Agreement, Section

 5    6.4(b)).

 6               Defendants Removed Funds from Valentine Life’s Bank Account Without
                 Authorization.
 7
                 105.   On or about August 14, 2017, Defendants unilaterally, and without authorization
 8
      or consent from Plaintiff, absconded with, and converted, the total amount held in Valentine
 9
      Life’s Bank of America bank accounts, which was more than Sixty-Nine Thousand Dollars
10
      ($69,000.00).
11
                 106.   On or about August 15, 2017, Plaintiff contacted Bank of America; filed fraud
12
      claims; and was able to have the funds restored to Valentine Life’s bank accounts.
13
                 107.   The same day, Defendants unilaterally, and without authorization or consent from
14
      Plaintiff, improperly modified the Bank of America bank account, removing Plaintiff’s access
15
      from the bank account.
16
                 108.   On or about August 16, 2017, Plaintiff contacted Bank of America and was able
17
      to restore his access.
18
                 109.   Unfortunately, the same day, Defendants, for a third time, unilaterally, and
19
      without authorization or consent from Plaintiff, improperly modified the Bank of America bank
20
      account and caused an “account takeover” preventing Plaintiff from accessing Valentine Life’s
21
      funds.
22
                 110.   Defendants’ actions have hindered Valentine Life’s ability to meet its ongoing
23
      financial obligations or repay debts in violation of the Operating Agreement.
24
                 111.   In addition, Defendants’ actions are in contravention of the parties’ agreement
25
      that Plaintiff would exclusively undertake the day-to-day operations of Valentine Life including,
26
      without limitation, supervising payroll; approving expenses; handling funds and bank accounts;
27

28


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 1    overseeing the creation of content for the company; overseeing the answering of email inquiries

 2    related to the company’s products and services; and presenting workshops, seminars and classes.

 3            Defendants Submitted Forged Corporate Documents to the Nevada Secretary of
              State.
 4
              112.     On or about March 10, 2017, Defendants, or their agents, submitted a Statement
 5
      of Change of Registered Agent form for Valentine Life to the Secretary of State. A true and
 6
      accurate copy of the Statement of Change of Registered Agent is attached hereto as Exhibit P.
 7
              113.     The Statement of Change of Registered Agent contains a signature purported to
 8
      be Plaintiffs.
 9
              114.     Plaintiff did not sign the document, nor authorize any person to execute the
10
      document on his behalf.
11
              115.     The signature and date on the document is not Plaintiff’s.
12
              116.     As the sole authorized President, Treasurer, Secretary and Director of Valentine
13
      Life, no other person had authority to submit the document for filing other than Plaintiff.
14
              117.     Further, no person had authority to sign Plaintiff’s name to the document.
15
              118.     Defendants knew or should have known that the document that was submitted
16
      contained a signature of the Plaintiff that was a forgery.
17
              Defendant Kho Improperly and Illegally Supplanted Plaintiff as the President,
18
              Treasurer, Secretary and Sole Director of Valentine Life.
19
              119.     On or about August 12, 2017, Defendants, or their agents, submitted an
20
      amendment to the Annual List of Officers, Directors for Valentine Life (“Amendment”) that
21
      supplanted Plaintiff as the President, Treasurer, Secretary and Sole Director of Valentine Life
22

23    for Defendant Kho. A true and accurate copy of the amendment to the Annual List of Officers,

24    Directors for Valentine Life is attached hereto as Exhibit Q.
25            120.     Neither Defendants nor their agents were authorized to submit the Amendment.
26

27

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 1             121.   Indeed, pursuant to N.R.S. 78.335, a director may only “be removed from office

 2    by the vote of stockholders representing not less than two-thirds of the voting power of the
 3
      issued and outstanding stock entitled to vote.”
 4
               122.   The only stockholders of Valentine Life are Plaintiff and Defendant RSD, who
 5
      each own fifty-percent (50%) of the outstanding stock entitled to vote.
 6
               123.   Plaintiff did not vote in favor of his removal as Director of Valentine Life.
 7

 8             124.   Indeed, there was not even a vote held with respect to Plaintiff’s removal as

 9    Director of Valentine Life.
10             125.   Since Plaintiff controls fifty-percent (50%) of Valentine Life, it is impossible for
11
      Defendant RSD to remove Plaintiff as a director of Valentine Life without Plaintiff’s consent.
12
               126.   Therefore, Defendant Kho’s actions of supplanting Plaintiff as a director or ultra
13
      vires.
14

15             127.   Defendant Kho made the misrepresentation that he was authorized to sign the

16    Amendment, when he knew that he was not.

17             128.   The language on the Amendment just above the signature line reads, “the
18    information contained [on the Amendment] is correct”.
19
               129.   Plaintiff was damaged as a result of the foregoing.
20
               Defendants have Wrongfully Dissolved Valentine Life.
21
               130.   Defendant Kho indicated that Defendants were dissolving Valentine Life, to wit:
22
      “Todd’s business with Real Social Dynamics was dissolved due to a difference in vision with
23
      how Todd wanted to do business with Real Social Dynamics.” See Exhibit O (emphasis added).
24
               131.   Indeed, on or about August 14, 2017, Defendants, or their agents, submitted a
25
      Certificate of Dissolution for Valentine Life to the Secretary of State. A true and accurate copy
26
      of the Certificate of Dissolution is attached hereto as Exhibit R.
27

28


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 1           132.    Such action is in contravention of Section 6.4 of the Operating Agreement which

 2    prohibits Defendant RSD from “[v]oluntarily caus[ing] the dissolution of the Company

 3    [Valentine Life]” without Plaintiff’s consent. See Exhibit C.

 4           133.    Plaintiff did not provide consent to dissolve Valentine Life.

 5           134.    Neither was there a resolution approving the dissolution of Valentine Life.

 6           135.    Moreover, RSD may not seek judicial action to dissolve Valentine Life as the

 7    parties waived that right in Article 10 of the Operating Agreement. Id. In any event, no such

 8    judicial intervention was sought.

 9           136.    Therefore, Defendants’ unilateral dissolution of Valentine Life was an ultra vires

10    act to the detriment of Plaintiff and Valentine Life that was a breach of contract.

11           137.    Moreover, it constituted a misrepresentation by Defendant Kho that he was

12    authorized to dissolve the company when he was not.

13           138.    Plaintiff was damaged as a result of the foregoing.

14           Defendants’ Actions are in Contravention of the Operating Agreement and
             Therefore Constitute Ultra Vires Acts.
15
             139.    Plaintiff and Defendants agreed, and their course of dealing provided, that
16
      Plaintiff would manage the day-to-day operation of Valentine Life.
17
             140.    Defendants were not authorized to unilaterally disrupt Valentine Life’s business
18
      operations nor take down its content on the Websites and Social Media Accounts.
19
             141.    Under Section 6.4 of the Operating Agreement, defendant RSD was prohibited
20
      from unilaterally restricting Plaintiff’s access to, taking down and using the Websites, as well as
21
      the Social Media Accounts and Business Accounts, without Plaintiff’s consent. See Exhibit C.
22
             142.    Moreover, Defendants were not authorized to dissolve the company without the
23
      consent of Plaintiff—which they did not have.
24
             143.    In spite of that, they improperly and unilaterally removed all the funds from
25
      Valentine Life’s bank accounts; impaired the viability of the Social Media Accounts and
26
      Websites; and denied access to, and use of, the Business Accounts and email accounts.
27

28


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 1           144.    Defendants have engaged in ultra vires acts that have disrupted Valentine Life’s

 2    business and its ability to continue operations.

 3           145.    Plaintiff has been damaged as a result of the foregoing.

 4           Unknown Defendants Converted Funds From Plaintiff’s PayPal Account

 5           146.    On or about September 4, 2017, Unknown Defendants intentionally accessed

 6    Plaintiff’s PayPal account associated with the email address “todd@valentinelife.com” (the

 7    “PayPal Account”) without authorization.

 8           147.    In order to access the PayPal Account, Unknown Defendants provided

 9    information to PayPal to cause PayPal to incorrectly believe Unknown Defendants were Plaintiff

10    or otherwise authorized to access the PayPal Account.

11           148.    After Unknown Defendants accessed the PayPal Account, they caused a transfer

12    of funds in the amount of $7,603.08 from the PayPal Account to a PayPal account associated

13    with the email address “amber@kho.biz”.

14           149.    Amber Kho is the spouse of Defendant Kho.

15           150.    The kho.biz domain is owned and/or associated with Defendant Kho.

16           151.    The transfer to the PayPal account associated with the email address

17    “amber@kho.biz left the PayPal Account with a balance of $0.

18           152.    On or about September 9, 2017, the PayPal Account received a payment in the

19    amount of $190.99.

20           153.    The same day, Unknown Defendants intentionally accessed the PayPal Account

21    without authorization.

22           154.    Unknown Defendants then transferred the $190.99 to the PayPal account

23    associated with the email address “amber@kho.biz”.

24           155.    Once again, this left the PayPal Account with a balance of $0.

25           156.    Unknown Defendants were not authorized to access the PayPal account nor were

26    they authorized to transfer funds from the PayPal Account to any other financial account.

27           157.    Plaintiff was damaged as a result of the foregoing.

28


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 1            Unknown Defendants Illegally Accessed Plaintiff’s Personal Emails.

 2            158.    On or about September 10, 2017, Unknown Defendants began a process to access

 3    and obtain information from Plaintiff’s personal Gmail account “tvandehey@gmail.com” (the

 4    “Personal Email”) without authorization.

 5            159.    Gmail is an email service provided by Google, Inc.

 6            160.    The Personal Email contains, inter alia, confidential information belonging to

 7    Plaintiff, including without limitation privileged and confidential attorney-client and attorney

 8    work product materials.

 9            161.    From on or about September 10, 2017 and on or about September 11, 2017,

10    Unknown Defendants forwarded at least seven (7) emails from the Personal Email to the

11    Personal Email.

12            162.    Unknown Defendants then proceeded to delete those seven (7) emails from the

13    “Trash” folder of the Personal Email.

14            163.    Each of the seven (7) emails contained single attachments in the form of a PNG

15    image file that consisted of excerpts of documents filed in the instant litigation.

16            164.    In addition, on or about September 11, 2017, Unknown Defendants forwarded

17    two emails from the Personal Email to the email address “toddrsd@hotmail.com” (the

18    “Wrongful Hotmail Address”).

19            165.    Hotmail is an email service provided by Microsoft Corporation.

20            166.    Plaintiff neither created, nor authorized the creation of, the Wrongful Hotmail

21    Address.

22            167.    Plaintiff does not use, nor have access to, the Wrongful Hotmail Address.

23            168.    The first email forwarded to the Wrongful Hotmail Address by the Unknown

24    Defendants had a subject of “Fwd: Madison video”.

25            169.    That email contained a privileged and confidential communication from Plaintiff

26    to his attorneys.

27            170.    The second email forwarded to the Wrongful Hotmail Address by the Unknown

28    Defendants had a subject of “Fwd: Owen text 8/14”.


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 1             171.   That email contained screenshots of a text message conversation between

 2    Plaintiff and Defendant Cook.

 3             172.   Plaintiff did not forward either of the above-referenced emails to the Wrongful

 4    Hotmail Address.

 5             173.   Moreover, Unknown Defendants created an archived copy of the entire Personal

 6    Email.

 7             174.   Plaintiff did not authorize the Unknown Defendants to access the Personal Email

 8    nor take any of the above-referenced actions regarding the Personal Email.

 9             Unknown Defendants Reset Plaintiff’s Personal Email Recovery Email and Phone
               Number Without Authorization.
10
               175.   On or about September 11, 2017 at 2:17 PM EDT, Plaintiff, without knowledge
11
      of the unauthorized and illegal actions of Unknown Defendants, accessed the Personal Email in
12
      order to change the recovery email address from “todd@realsocialdynamics.com” to
13
      “toddvhan@gmail.com”.
14
               176.   Plaintiff did so because Defendants, as detailed above, had previously removed
15
      his access to the “todd@realsocialdynamics.com” email address.
16
               177.   Also on or about September 11, 2017, Unknown Defendants took steps to ensure
17
      their continued unauthorized access to the Personal Email, to wit:
18
                  a. At 5:31 PM, Unknown Defendants reset the Personal Email recovery email
19
                      address from “toddvhan@gmail.com” to “todd@realsocialdynamics.com”.
20
                  b. At the same time, Unknown Defendants removed Plaintiff’s recovery phone
21
                      number ending 3559 from the Personal Email.
22
                  c. At 5:36 PM, from a location in Las Vegas, Nevada, Unknown Defendants
23
                      changed the password on the Personal Email. This prevented Plaintiff from
24
                      accessing the Personal Email.
25
                  d. At 5:42 PM, from a location in Las Vegas, Nevada, Unknown Defendants added
26
                      the recovery phone number 702-600-8317 to the Personal Email. That phone
27
                      number is serviced by Verizon Wireless.
28


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 1               e. At 6:43 PM, Unknown Defendants, from a location in Las Vegas, Nevada,

 2                   Unknown Defendants removed the recovery phone number 702-600-8317 from

 3                   the Personal Email.

 4           178.    It was only after the Personal Email recovery email was changed by Unknown

 5    Defendants back to “todd@realsocialdynamics.com” that Plaintiff learned Unknown Defendants

 6    had accessed the Personal Email.

 7           179.    Plaintiff   did   not   change     the   Personal    Email    recovery    email    to

 8    “todd@realsocialdynamics.com”.

 9           180.    Likewise, Plaintiff does not have any connection to the 702-600-8317 phone

10    number.

11                                              COUNT ONE

12                   (Declaratory Judgment Pursuant to 28 U.S.C. 2201 and
                     F.R.C.P. 57 as to the Enforceability of the Non-Competition
13                   and Non-Solicitation Clauses of the Contractor Agreement)

14           181.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

15    the foregoing paragraphs with the same force and effect as if fully set forth at length herein.

16           182.    Because of Defendants’ unauthorized and ultra vires acts in dissolving Valentine

17    Life, Plaintiff is now in a position in which he is compelled to expend time and resources to

18    rebuild the brand and business of Valentine Life.

19           183.    In doing so, Plaintiff is concerned that defendant RSD will assert that Plaintiff is

20    in competition with RSD.
21
             184.    In addition, in rebuilding the business of Valentine Life, Plaintiff may hire former
22
      Valentine Life employees who may have contracted with defendant RSD.
23
             185.    In doing so, Plaintiff is concerned that defendant RSD will assert that Plaintiff is
24
      in improperly soliciting those individuals.
25

26           186.    In short, in order for Plaintiff to begin efforts to remediate the damage already

27    caused by and through its improper acts, he will need to undertake acts that RSD may allege
28    violate the Non-Competition and Non-Solicitation clauses of the Contractor Agreement.

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 1            187.    The very uncertainty of that creates an unfair impediment to Plaintiff’s efforts to

 2    continue the business of Valentine Life in one form or another.
 3
              188.    This is especially prejudicial because both the Non-Competition and Non-
 4
      Solicitation clauses are unenforceable.
 5
              189.    For example, the Non-Competition clause specifically restricts Plaintiff for a
 6
      period of five (5) years from (a) involvement in a business that is in direct competition with
 7

 8    defendant RSD; and (b) working with a company that operates in any of eight (8) metropolises

 9    throughout the world, spanning four (4) countries and three (3) continents, regardless of whether
10    the company has a physical or Internet presence.
11
              190.    Indeed, because this is an e-commerce business, this overly broad restriction
12
      prevents Plaintiff from continuing the work he performed for defendant RSD for five (5) years
13
      throughout the world.
14

15            191.    Thus, the Non-Competition clause improperly imposes a restraint that is greater

16    than is required for the protection of defendant RSD; imposes an undue hardship on Plaintiff;

17    and imposes restrictions that are inappropriate in relation to the consideration supporting the
18    Non-Competition clause.
19
              192.    Therefore, the Non-Competition clause is void and unenforceable.
20
              193.    In addition, the Non-Solicitation clause prevents Plaintiff from hiring any former
21
      independent contractor or employee from defendant RSD for a period of five (5) years
22

23    worldwide.

24            194.    Such restrictions are unreasonable as to time, geographical area and scope of

25    activity restrained.
26
              195.    Therefore, the Non-Solicitation clause likewise is void and unenforceable.
27

28


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 1           196.    Since Plaintiff wants to rebuild the business of Valentine Life, the enforceability

 2    of the Non-Competition and Non-Solicitation clauses is definite and concrete, affecting—
 3
      indeed, prejudicing—Plaintiff’s and defendant RSD’s adverse legal interest with sufficient
 4
      immediacy as to justify relief.
 5
             197.    A declaratory judgment will resolve the uncertainty of Plaintiff’s obligations
 6
      under the Non-Competition and Non-Solicitation clauses.
 7

 8           198.    As such, Plaintiff is entitled to a declaratory judgment determining whether the

 9    Non-Competition and Non-Solicitation clauses are void and unenforceable.
10                                              COUNT TWO
11                    (Violation of the Stored Communications Act, 18 U.S.C. 2701)
12
             199.    Plaintiff repeats, reiterates and realleges each and every allegation contained in
13
      the foregoing paragraphs with the same force and effect as if fully set forth at length herein.
14
             200.    Unknown Defendants accessed the Personal Email without authorization and
15
      thereby (1) obtained the electronic communication stored in the Personal Email and (2) altered
16
      the electronic communications in electronic storage in the Personal Email by forwarding and
17
      deleting individual emails.
18
             201.    Unknown Defendants did so knowingly or with an intentional state of mind.
19
             202.    Such actions are a violation of the Stored Communications Act, 18 U.S.C. 2701.
20
             203.    Because of Unknown Defendants’ actions, Plaintiff has suffered damages.
21
             204.    Pursuant to 18 U.S.C. 2707, Plaintiff may obtain a preliminary and other
22
      equitable or declaratory relief against Unknown Defendants.
23
             205.    In addition, Unknown Defendants are liable to Plaintiff for (a) actual damages,
24
      not less than $1,000; (b) punitive damages; and (c) costs and reasonable attorney’s fees.
25

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 1                                             COUNT THREE

 2                   (Violation of the Computer Fraud and Abuse Act, 18 U.S.C. 1030)
 3
              206.    Plaintiff repeats, reiterates and realleges each and every allegation contained in
 4
      the foregoing paragraphs with the same force and effect as if fully set forth at length herein.
 5
              207.    Unknown Defendants accessed the Personal Email account without authorization
 6
      and thereby obtained information from a “protected computer”, as defined in 18 U.S.C.
 7
      1030(e)(2)(B), to which Unknown Defendants did not have authorized access.
 8
              208.    Unknown Defendants accessed the Personal Email and obtained information
 9
      from a protected computer intentionally.
10
              209.    Such actions are a violation of the Computer Fraud and Abuse Act, 18 U.S.C.
11
      1030.
12
              210.    Because of Unknown Defendants’ actions, Plaintiff has suffered damages.
13
              211.    Pursuant to 18 U.S.C. 1030(g), Plaintiff may recover damages from Unknown
14
      Defendants.
15
                                                COUNT FOUR
16
                                         (Violation of NRS 205.4765)
17
              212.    Plaintiff repeats, reiterates and realleges each and every allegation contained in
18
      the foregoing paragraphs with the same force and effect as if fully set forth at length herein.
19
              213.    Unknown Defendants did either modify, damage, destroy, disclose, use, transfer,
20
      conceal, take, retain possession of, copy, obtain or attempted to obtain access to, permitted
21
      access to or caused to be accessed, and/or entered a program or supporting documents which
22
      existed inside or outside a computer, system or network when they (a) accessed the Personal
23
      Email without authorization, (b) forwarded and deleted individual emails from the Personal
24
      Email, (c) changed the password of the personal email, (d) changed the recovery email of the
25
      Personal Email; and (e) changed the recovery phone number of the Personal Email.
26
              214.    Unknown Defendants did so knowingly, willfully and without authorization.
27
              215.    Such actions are a violation of NRS 205.4765.
28


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 1           216.    Because of Unknown Defendants’ actions Plaintiff has suffered damages.

 2           217.    Pursuant to NRS 205.511, because of Unknown Defendants’ violation of NRS

 3    205.4765, Defendants are liable to Plaintiff for (1) actual damages; (2) punitive damages; and

 4    (3) costs and reasonable attorney’s fees.

 5                                                COUNT FIVE

 6                                                (Conversion)
 7
             218.    Plaintiff repeats, reiterates and realleges each and every allegation contained in
 8
      the foregoing paragraphs with the same force and effect as if fully set forth at length herein.
 9
             219.    Unknown Defendants have willfully deprived Plaintiff of the right to possession
10
      of his property held in the PayPal Account through the execution of two unauthorized transfers
11
      from the PayPal Account to a PayPal account associated with “amber@kho.biz”.
12
             220.    Because of Unknown Defendants’ willful deprivation of Plaintiff’s right to his
13
      property held in the PayPal Account, Plaintiff has been damaged.
14
             221.    Therefore, Unknown Defendants are liable to Plaintiff for the return of the
15
      property, for the value of the property, and for damages, including punitive damages,
16
      proximately caused by Unknown Defendants’ wrongful conduct.
17
             WHEREFORE, Plaintiff hereby demands judgment as follows:
18
                     a. as to Count One, Plaintiff demands a declaratory judgment against
19
                         Defendants;
20
                     b. as to Counts Two, Three, Four and Five actual damages against the Unknown
21
                         Defendants;
22
                     c. as to Counts Two, Four and Five punitive damages against the Unknown
23
                         Defendants;
24
                     d. as to Counts Two and Four costs and reasonable attorneys’ fees against the
25
                         Unknown Defendants; and
26
                     e. as to Count Two equitable relief against the Unknown Defendants.
27

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 1          RESPECTFULLY SUBMITTED this 12th day of October, 2017

 2
                                      NISSENBAUM LAW GROUP, LLC
 3

 4                                    By: /s/ Steven L. Procaccini
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10

11                                    Attorneys for plaintiff Todd VanDeHey

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 1                                   CERTIFICATE OF SERVICE

 2           I HEREBY CERTIFY that I am an employee of McDonald Carano LLP, and that on or

 3    about the 12th day of October, 2017, a true and correct copy of the foregoing AMENDED

 4    COMPLAINT was electronically filed with the Clerk of the Court by using CM/ECF service

 5    which will provide copies to all counsel of record registered to receive CM/ECF notification.

 6

 7                                                /s/ Jelena Jovanovic
                                                  An employee of McDonald Carano LLP
 8

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 2

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 5     Valentine Life, Inc. Articles of Incorporation                      B
 6     Valentine Life, Inc. Operating Agreement                            C
 7     OpeningMastery.com Screenshot                                       D
 8     RSDImmersion.com Screenshot                                         E
 9     ValentineLife.com Screenshot                                        F
10     User “noellohrey” Instagram comment                                 G
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       Reddit Thread                                                       H
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       Private “Todd Valentine” Facebook Group Screenshots                 I
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       Todd Valentine (RSD Todd) Google+ Account Screenshot                N
18

19     Defendant Kho Internet Forum Posting                                O

20     Valentine Life, Inc. Statement of Change of Registered Agent        P

21     Valentine Life, Inc. Amended Officer and Director List              Q

22     Valentine Life, Inc. Certificate of Dissolution                     R

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